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                                                                         U.S.D.C. • Atlanta

ORIGINAL                                                                 SEP 26 2023
                                                                     Kl;VIN P. WEIMER, Clerk
                                                                       By;. 1 cc, OepatyCterk
                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED STATES OF AMERICA

         V.                                    Criminal Indictment

   MONIQUE CLARK                               No.   t : 9 9 - CR 9 0'J

THE GRAND JURY CHARGES THAT:


                                     Background

   At all times material to this indictment:

   1. The Fulton County North Annex Jail in Alpharetta, Georgia was a facility
operated and controlled by the Fulton County Sheriff's Office, which is
responsible for the custody, control, care, and safety of pretrial detainees.
   2. The defendant, MONIQUE CLARK, was employed as a Detention Officer
with the Fulton County Sheriff's Office.
   3. C.B. was a pretrial detainee at the Fulton County North Annex Jail.

                                    Count One

   4. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 3 of this Indictment as if fully set
forth herein.
   5. On or about June 5, 2023, in the Northern District of Georgia, the
defendant, MONIQUE CLARK, while acting under color of law as a Detention
Officer for the Fulton County Sheriff's Office, willfully deprived C.B. of the right,
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secured and protected by the Constitution and laws of the United States, not to

be deprived of due process of law, which includes the right of a pretrial detainee

to be free from a law enforcement officer's unreasonable use of force. Specifically,

MONIQUE CLARK, without legal justification, used his hands to strangle C.B.

while C.B. was handcuffed. The offense resulted in bodily injury to C.B.

   All in violation of Title 18, United States Code, Section 242.


                                          A         -✓-ft,vt,                 BILL


                                                 ~ ~ FEPERSON


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